                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA                             Criminal No.    a-IOWQ
                                                     Violations:


DEMONE COLEMAN,                                      Counts One-Four: 21 U.S.C. § 841(a)(1)
       Defendant.                                    Distribution of a Controlled Substance


                                                     Drug Forfeiture
                                                     21 U.S.C. § 853


                                         INDICTMENT


COUNT ONE:              21 U.S.C. § 841(a)(1) - Distribution of a Controlled Substance

The Grand Jury charges that:

       On or about May 31, 2017, in the District of Massachusetts,

                                     DEMONE COLEMAN,

defendant herein, did knowingly and intentionally distribute cocaine base, a Schedule II

controlled substance.


       All in violation of Title 21, United States Code, Section 841(a)(1).
COUNT TWO:              21 U.S.C. § 841(a)(1) - Distribution of a Controlled Substance

The Grand Jury further charges that:

       On or about June 22, 2017, in the District of Massachusetts,

                                     DEMONE COLEMAN,

defendant herein, did knowingly and intentionally distribute cocaine base, a Schedule II

controlled substance.


       All in violation of Title 21, United States Code, Section 841(a)(1).
COUNT THREE:            21 U.S.C. § 841(a)(1) - Distribution of a Controlled Substance

The Grand Jury further charges that:

       On or about June 29, 2017, in the District of Massachusetts,

                                     DEMONE COLEMAN,

defendant herein,, did knowingly and intentionally distribute cocaine base, a Schedule II

controlled substance.


       All in violation of Title 21, United States Code, Section 841(a)(1).
COUNT FOUR:             21 U.S.C. § 841(a)(1) - Distribution of a Controlled Substance

The Grand Jury further charges that:

       On or about September 27, 2017, in the District of Massachusetts,

                                     DEMONE COLEMAN,

defendant herein, did knowingly and intentionally distribute cocaine base, a Schedule II

controlled substance.


       All in violation of Title 21, United States Code, Section 841(a)(1).
                             DRUG FORFEITURE ALLEGATION
                                           (21 U.S.C. § 853)

         1.     Upon conviction of one or more of the offenses in violation of Title 21, United

States Code, Section 841(a), set forth in Counts One through Four of this Indictment,

                                      DEMONE COLEMAN,

defendant herein, shall forfeit to the United States, pursuant to Title 21, United States Code,

Section 853, any property constituting, or derived from, any proceeds obtained, directly or

indirectly, as a result of such offenses; and any property used, or intended to be used, in any

manner or part, to commit, or to facilitate the commission of, such offenses.

         2.     If any of the property described above as being forfeitable pursuant to Title 21,

United States Code, Section 853, as a result of any act or omission of the defendant ~

                a.      cannot be located upon the exercise of due diligence;

                b.      has been transferred or sold to, or deposited with, a third party;

                c.      has been placed beyond the jurisdiction of the Court;

                d.      has been substantially diminished in value; or

                e.      has been commingled with other property which cannot be divided without
                        difficulty;

it is the intention of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property ofthe defendant up to the value of the property described

above.


         All pursuant to Title 21, United States Code, Section 853.
A TRUE BILL:




                                                                    the Grand Jury




 licholas Soivilien
Assistant United States Attorney


District of Massachusetts
April 19, 2018


Returned into the District Court by the Grand Jurors and filed.



                                                     Deputy Clerk
                                                                                     l.HOfYY)
